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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
BUZZFEED, INC.,                                               :
                                                              :     Case No. 19-cv-1337
                                    Plaintiff,                :
                                                              :
                  - - against - -                             :     PLAINTIFF’S CORPORATE
                                                              :     DISCLOSURE STATEMENT
U.S. DEPARTMENT OF THE AIR FORCE,                             :
                                                              :
                                    Defendant.                :
                                                              :
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        Pursuant to Fed. R. Civ. Pro. 7.1, the undersigned counsel hereby certifies that Plaintiff

BuzzFeed, Inc. is a privately owned corporation. Ten percent or more of its stock is owned by

NBCUniversal Media LLC, a wholly-owned indirect subsidiary of Comcast Corporation, which

is publicly traded. No other publicly held company owns ten percent or more of its stock.



DATED: February 12, 2019                                     Respectfully Submitted,

                                                             BUZZFEED, INC.


                                                By:          s/ Nabiha Syed

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